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Pest M anagemen t S ci.enc e




Mini-review
Glyphosate: a once-in-a-ce tury herbicide
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Abstract: Since lts commercial lntroduction 7n 1974, glyphosate [N-(phosphonomethyl)glyclne] has become the
domlnant herblcide worldwide. There are several reasons for its success. Glyphosate is a hlghly effective broad-
spectrum herblclde, yet it is very toxicologically and envlronmentally safe. Glyphosate translocates well, and
its actlon is slow enough to take advantage ofthls. Glyphosate ls the only herblclde that targets S-enolpynrvyl-
shlkimate-3-phosphate synthase (EPSITS), so there are no competing herbicide analogs or classes. Stnce glyphosate
became a generlc compound, its cost has dropped dramatlcally. Perhaps the most important aspect of the success
of glyphosate has been the lntroduction of transgenlc, glyphosate-reslstant crops in 1996. Almost 90vo of all
transgenlc crops grown worldwlde are glyphosate reslstant, and the adoptlon of these crops is Increasing at a
steady pace. Glyphosate/glyphosate-reslstant crop weed management offers slgnlficant envlronmental and other
benefits over the technologles that lt replaces. The use ofthls vtrtually ldeal herblclde ls now belng threatened
by the evolutlon of glyphosate-reslstant weeds. Adoptlon of reslstance management practlces wlll be required to
malntaln the benefits of glyphosate technologles for future generatlons.
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Keywords: glyphosate; GMO; herbicide; herbicide-resistant crop



1 INTRODUCTION                                                                not tested or at least patented for herbicidal use. John
The era of weed management with synthetic herbicides                          E Franz of Monsanto Co. first synthesized and tested
began in earnest after \7orld \Var II with the                                glyphosate as a herbicide in l970rl and it was soon
inuoduction of 2r4-D. So the title of this paper                              afterpatented for herbicide use,2 Glyphosate is anionic
is perhaps presumptuous, considering we are only                              at physiological pH levels, It is active as a salt with
60years into this era. Nevertheless, the simple                               various cations (e.g. the sodium or isopropylamine
molecule glyphosate [N-(phosphonomethyl)glycine]                              salts). The isopropylamine salt of glyphosate first
is the most important herbicide of this period. This                          reached the market in 1974 as a post-emergencer non-
review will discuss why glyphosate more closely                               selective herbicide, and its popularity grew steadily for
approximates to a perfect herbicide than any other,                           the many reasons outlined below.
and considers how the advent of transgenic crops
has catapulted glyphosate to the dominant herbicide
of this time. The review concludes by discussing
                                                                              2.2 Attributes that contributd to gtyphosate
                                                                              success
how the combination of glyphosate overreliance and
the evolutionary potential of weed species threatens
                                                                              2.2.1 Mode of action
glyphosate's efficacy and sustainability as a precious
                                                                              Glyphosate mode of action is unique in that
herbicide resource for world agriculture. There are
                                                                              it is the only molecule that is highly effective
other, more encyclopaedic reviews and books on                                at inhibiting the enzyme 5-enolpymvyl-shikimate-
glyphosatel-a and glyphosate-resistant (GR) crops,5-7
                                                                              3-phosphate synthase (EPSPS) of the shikimate
                                                                              pathway (Fig. 1). Glyphosate is a transition state
but there is none that approaches this topic from the
                                                                              analog of phosphoenylpyruvatd, one of the substrates
viewpoint that is taken in this short review.
                                                                              for EPSPS. Inhibition of EPSPS leads to reduced
                                                                              feedback inhibition of the pathway, resulting in
                                                                             massive carbon flow to shikimate-3-phosphate, which
2 THE HERBICIDE GLYPHOSATE                                                    is converted into high levels of shikimate.3 The
2.1 History                                                                  high levels of shikimate that rapidly accumulate in
As reported by Franz et al.,r the glyphosate molecule                         glyphosate-treated plant tissues was the clue that led
was apparently first synthesized by Henri Martin of a                        N Amrhein and his coworkers to discover EPSPS as
small Swiss pharmaceuticial company (Cilag), but was                         the molecular target site of glyphosate.8

*
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                                                 Phosphoenolpyruvate + Erythrose 4-phosphate




                            Shiklmate
                                                                      t
                                                            Shikimate 3-phosphate
                                                                                           I
                                                                                           t
                                                                                           I
                                                                                           I
                                                                                           I
                            pathway          Glyphosate                                    a
                                                                                           I
                                                                      v                    iI          llalt defenses

                                                                      i                                Phytoalexins
                                                                                                       Hnvtoatextns
                                                                                                       Lignin
                                                                  Chorismate
                                                                                                            A
                                                                                                            I


Flgure 1. The shlkimate pathway and the site of its inhibition by glyphosate. Products of the pathway and regulatory feedback Inhlbitlon (dotted
arrow) are shown,


   How glyphosate-induced inhibition of the shikimate                        faster, such as sugarbeet, glyphosate can limit its own
pathway actually kills plants is not entirely clear.                         translocation. l3
Many assume that insuffrcient aromatic amino acid
production to maintain necessary protein synthesis is
                                                                             2,2,3 Toxicologt
the primary effect, and this is consistent with the slow
                                                                             Glyphosate is one of the least toxic pesticides to
development of symptoms. Yet others have produced
                                                                             animals.l'a'7 Accordingly, it is used for weed control
evidence to support the view that the increased carbon
                                                                             throughout the world in urban and recreational
flow to the shikimate pathway by deregulation of the
                                                                             areas, as well as on industrial and agricultural
pathway by inhibiting EPSPS results in shortages
                                                                             land. Glyphosate is less acutely toxic than common
of carbon for other essential pathways.e The rapid                           chemicals such as sodium chloridg or aspirin, with an
cessation of carbon fixation in glyphosate-treated
                                                                             LD5e for rats greater than 5 g kg-'. Some formulation
sugarbeetl0 is better explained by this mechanism
                                                                             materials and cationic salt ions used with glyphosate
than by reductions in aromatic amino acid pools.
                                                                             are more toxic than the glyphosate anion. Glyphosate
  The EPSPS of all higher plants appears to be                               is not a carcinogen or a reproductive toxin, nor does
inhibited by glyphosate, making it a non-selective
herbicide, active on a very wide range ofplant species.
                                                                             it have any subacute chronic toxicity. In a lengthy
                                                                             review, \Tilliams et al.r4 conclude that, when used
Only glyphosate has been found to be an excellent
                                                                             according to instructions, there should be no human
EPSPS inhibitor, with no analogs or alternative
                                                                             health safety issues with glyphosate.
chemical classes targeting this enzyme having been
commercialized. This, coupled with the many other
desirable properties of glyphosate, makes it a unique,                       2.2.4 Enaironmental profile
ideal herbicide.                                                             In general, glyphosate is an entironmentally benign
                                                                             herbicide.l'14-16 Glyphosate binds tightly to soil
2.2.2 Uptahe and tanslocation                                                constituents, with very little movement to soil
Glyphosate is taken up relatively rapidly through                            and groundwater. In soils with macropores and
plant surfaces.ll'12 Leaf uptake rates vary consider-                        pronounced preferential flow, glyphosate can move
ably between species, accounting for at least some                           readily to groundwaterrlT but cases ofthis occurring in
of the differences in glyphosate susceptibility between                      the field have not been well documented.T The major
species. Diffusion is the most likely mode of transport                      glyphosate degradation product, aminophosphonic
across the plant cuticle. The physicochemical prop-                          acid (AMPA), is significantly more mobile than
erties of glyphosate enable it to be uanslocated from                        glyphosate in soil.lT Glyphosate has a relatively short
the leaf via the phloem to the same tissues that are                         environmental half-life owing to microbial degradation
metabolic sinks for sucrose.e Thus, phytotoxic lev-                          in the soil. Glyphosate is not volatile, so there is no
els of glyphosate reach meristems, young roots and                           atmospheric contamination.
Ieaves, storage organs and any other actively growing                           Because glyphosate is tightly bound by soil, it has
tissue or organ. Good uptake, excellent translocation                        essentially no soil activity (hence its use only as a post-
to growing sites, nil or limited degradation and a slow                      emergence, foliar-applied herbicide). At commercial
mode of action are the primary reasons for the excel-                        use rates, the glyphosate molecule itself has little or
lent effi.cacy of glyphosate. In species in which it acts                    no effect on non-target organisms, other than some

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                                                                                 Glyphosate: a once-in-a-century herbicide


fungi.t'?'to At exposures to glyphosate likely to be             In at least sorr1e species, glyphosate is degraded slowly
found in the environment after application, there is             to aminophosphonic acid (AMPA) and glyoxylate
no evidence of adverse effects. Studies with very low            by a glyphosate oxidoreductase (GOX).27-2e This
levels of glyphosate have found stimulation of growth            is best evident in transgenic GR soybeans, because
of some plant speciesrls although this phenomenon                the plant is protected from the glyphosate toxicity
has not been investigated in the field. Some studies             by a resistant form of EPSPS, so that the healthy
with formulated glyphosate have found effects on                 plant can metabolically degrade glyphosate. In GR
amphibians, the study by Relyearle for example, but              soybeans treated with commercial doses of glyphosate
the studies did not differentiate between the effects of         at late developmental stages, glyphosate metabolism
formulation materials versus the glyphosate molecule.            is evident as substantial AMPA in harvested seed.27
                                                                 Similar studies have not been done with GR maize
2,2,5 Res'istance                                                or cotton. This experiment cannot be done with GR
As mentioned above, there is no evidence of any                  canola because it contains a transgene that encodes a
higher-plant EPSPS being naturally resistant to                  bacterial GOX and therefore very little glyphosate is
glyphosate, although some plant species and biotypes             found after treatment, compared with GR soybean,2g
of species are less susceptible than others owing to             Large amounts of AMPA would be expected in
other physiological and./or biochemical mechanisms.              these tissues, but the levels were no higher than in
For example, some bermudagrass lCynodon dactylon                 GR soybeans, suggesting that canola readily degrades
(L.) Pers.l and field bindweed (Conoolouhu aroensis              AMPA.
L.) biotypes are more naturally resistant to glyphosate
than others.20'21 po. 2Oyears after the inuoduction              2.3 Approaches to overcoming glyphosate's
to world usage of glyphosate there was no evidence               non-selectivity
of evolved glyphosate-resistant weed populations.                Because glyphosate is non-selective, for the fust
Scientists from the manufacturer of glyphosate stated            20 years after commercialization its use was restricted
that evolution of glyphosate-resistant weeds would               to removing weeds before crop planting and to
be very slow, and the levels of resistance would                 situations where glyphosate could be directed to
be very low.22 However) at about the same time,                  avoid contact with foliage of crops or other desired
the fust studies of evolved glyphosate resistance                vegetation. Even small amounts of glyphosate reaching
were publish"6.23'24 Since then, reports of evolved              plant foliage can cause some phytotoxicity owing to
glyphosate-resistant weed populations have appeared              the excellent translocation of glyphosate from any
at a brisk pace, especially associated with the advent           exporting leaf to growing points. Thus, glyphosate is
and high adoption of transgenic glyphosate-resistant             widely used in a range of well-established tree, nut
(GR) crops (Fig. 2) (see Section 3.5). The current               and vine crops if it is directed at basal weeds within
state of evolved glyphosate resistance in weed species           and between the crop rows, ensuring that the foliage
worldwide has been recently reviewed,25'26 and,                  is not contacted. Some of the fust weeds to evolve
considering the current intense selection pressure               glyphosate resistance occurred in such tree, nut and
from the massive glyphosate usage, the appearance                vine crop areas where glyphosate could be applied
of resistant weed populations should not be a surprise.          several times in a season,25'26
                                                                    Until the transgenic crop era (from 1995 onwards),
2.2.6 Degradation in planx                                       glyphosate use in the major annual world grain
Until recently, the metabolic degradation of glyphosate          cfops was fesuicted to preplanting weed control,
by plants was neither well documented nor accepted.3             For example, glyphosate is the herbicide of choice
                                                                 for early-season weed control before planting wheat
     14
                                                                 crops, worldwide. Mechanical innovations enabled
                                                                 some glyphosate use within crops. These included
     12                                                          shielded sprayers and devices to wipe the herbicide
o                                                                onto weeds that were taller than the crop.3o Ttrese
8.
q
     10
                                                                 approaches in annual crops have not been widely
e
                                                                 utilized. Therefore, the value ofcrop varieties resistant
s8
q                                                                to glyphosate had been long recognized, although
E
dro
G
                                                                 attempts to find naturally resistant crop varieties were
8                                                                witJrout success. The advent ofmethods to move genes
E4                                                               from one organism to another offered the possibility
6                                                                of breaking this impasse.
      2


     OF
      1994     1   996   1998 2000 2002 2004 2006                3 TRANSGENIC, GLYPHOSATE.RESISTANT
                                     Year
                                                                 CROPS
Figure 2. Evolved glyphosate-resistant species worldwide. Data   3.1 Approaches
plotted from the website of lan Heap:                            Various genetic engineering and biotechnology
http://www.weedscience.org/in.asp.                               approaches to producing GR crops were tried with

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limited success until the CP4 gene of Agrobacteium                   flexible weed management than the conventional
sp. was found to encode a GR form of EPSPS.5 rVhen                   alternatives.33'38 Clearly, the economic benefits of
this CP4 gene plus a promoter was placed into the                    GR crops are evident to farmers. Consequently,
genome of certain crops, high levels of glyphosate                   glyphosate has largely replaced the selective herbicides
resistance were expressed. In addition to the CP4                    previously used in soybean, cotton and other GR
gene) a gene from Ochrobactrum anthropiHolmes et al,                 crops, so reducing their value.3e This has caused
encoding GOX was employed to contribute to resis-                    economic difficulties for competitor international
tance in canola.5 The resistance factors for GR CP4                  herbicide manufacturers without this technology, and
soybean and CP4 plus GOX canola are each about                       has contributed to substantial rationalization in this
50-fold.2e For maize, the EPSPS has been altered                     industry.
by site-directed mutagenesis of a maize gene to pro-
vide a form of GR EPSPS that is used in some GR                      2.3 Environmental benefits and risks
maize varieties. Genes that encode other forms of GR-
                                                                     Overall, GR crop technology has been found to
EPSPS31 and glyphosate detoxification enzSrmes32 are
                                                                     be more environmentally benign than the weed
being proposed for future GR crops, but, at present)
                                                                     management technology that it replaces.6'7'3e-al This
tlre CP4 gene is responsible for glyphosate resistance               is because, as mentioned above, glyphosate is more
in most commercial GR crops.
                                                                     environmentally benign than the destructive soil tillage
                                                                     and,/or herbicides that it has replaced. Glyphosate is
3.2 Commercialization and adoption                                   less likely to move or persist in ground and surface
Six GR agronomic crops have been deregulated                         water than the herbicides it has rcplaced.1,a2
(approved for growing by farmers) in the USA                           Tillage has been reduced where GR crops have
(Table 1). Only four of these crops (soybeans, cotton,               been adopted. Tillage is an environmentally harmful
maize and canola) are being grown at this time. The                  practice that causes loss of top soil and consequent
adoption rate of GR soybean, cottoq maize and canola                 pollution of surface waters and air. Utilization of tillage
in the USA has been spectacular, with over 90% of                    results in significant fossil fuel use with associated
all US soybeans and almost 70% of cotton GR by                       negative impacts. Brookes and Barfootal estimated
2006. Similarly, about 75%o of the canola planted in                 that GR crop use worldwide in 2005 resulted in a
Canada and the USA in 2005 was GR.33 Almost                          reduction of carbon dioxide emissions and potential
100% of the soybeans in Argentina are GR, and                        additional soil carbon sequestration equivalent to the
the adoption rate of GR soybeans in Brazil has been                  removal of about 4 million family cars from the road
very rapid since it became legal to grow these crops                 in terms of effects on global carbon balance. Tillage
in 2004.34 More than 80% of all transgenic crops                     has been significantly reduced in GR crops (Fig. 3),36
planted worldwide are GR crops, the planted area                     although the evolution of GRweeds and the movement
approaching almost l00million hectares in 2006.35                    of naturally GR weed species into GR crop fields is
Therefore, the adoption of this technology, where                    making returning to occasional tillage more desirable
it has been approved, has been sweeping. A more                      as an additional weed management tool in GR crops.
detailed discussion ofthe spectacular rates of adoption                 The only environmental risk of GR crops of which
of GR crop technology is available in Dill er a1.36 GR               the authors are aware is that of transsene flow to
crops have catapulted glyphosate to the most used
herbicide in the USA' accounting for more than 600/o
by volume of herbicides used in 2001.37 The use                          12

rate has gone up significantly since then owing to                                 tr No tillage
the increased adoption of GR crops. The significant                                I Reduced tillage
decline in cost of glyphosate after the patent expired
in 2000 has also contributed to this dominance.
   The driving force for this rapid adoption is that
the combination of glyphosate and a GR crop
generally provides better, simpler, cheaper and more

Table 1, Transgenic GR crops that have been deregulated in the USA

Crop                                              Year deregulated

Soybean                                                   1   996
Canola                                                    1   996
Cotton                                                    1   997
Maize                                                     1998
Sugarbeeta                                                1999                                                         2001
Alfalfab                                                  2005
                                                                     Figure 3. Soybean tillage methods by hectares farmed in the USA in
a Removed from
                 market, but to be reintroduced in 2007              1 996 and 2001 . ln 1 996 and 2001 there were respectively 1 9.2 and
D
  Returned to regulated status in 2007 by court.                     23 million ha of soybeans grown.a3.


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                                                                              Glyphosate: a once-in-a-century herbicide

wild or weedy relatives. Gene flow of GR transgenes          stacked with transgenes imparting uaits that would
to non-transgenic crops is known in canola, but has          increase fitness (e.g. insect or disease resistance), the
not been either a production or an environmental             herbicide resistance trait could assist in introgression in
problem.aa Glyphosate-resistant creeping bentgrass           the agroecosytem, eventually resulting in wild species
(Aerostis stolonifera L.), a wind-pollinated perennial, is   with new uaits that could alter species interactions
being tested for use as a turf grass, and the CP4 EPSPS      in a natural ecosystem, Development of fail-safe
gene has been readily transmitted to non-transgenic          technologies to prevent inuogression of transgenes
bentgrass,a5 The recent banning of GR alfalfa by a           should be a high-priority area of future research for
court in California was ostensibly because of gene flow      those interested in a secure future for transgenic crops.
to organic alfalfa. These cases of gene flow to the
same species are more economic tlran environmental           3,4 The changing weed spectrum
threats. Gene flow can also occur between closely            It is a maxim in weed control that nature abhors
related weed species.a6                                      a vacuum. \7here GR crops are grown intensively
  Introgression (full incorporation into another             with high reliance on glyphosate for weed control, the
genome) of transgenes into wild plants does pose a           agroecological niches resulting when weeds are well
potential environmental problem, in that the genes           conuolled by glyphosate will eventually be filled by
cannot be recalled. Hybrids between species or               species that can naturally resist or avoid glyphosate.
between crops and weedy variants ofthe crop are often        From 1996 onwards in the USA, where GR crops
unfit, making full movement of a gene or genes into          have been grown, this process has been observed
another population, with the backcrosses required,           and documented. At least some of the biotypes
unlikely, Before transgenic crops, herbicides were           of the following species are not well conuolled
introduced for crops to which the crops were natu-           by recommended rates of glyphosate: Amaranthus
rally resistant, There are no proven cases of complete       rudis JD Sauer, Amaranthus tubercularzs (Moq.) JD
introgression of herbicide resistance gene(s) from a         Sauer, Chamaesyce hirta (L.) Millsp., Chenopoilium
naturally resistant crop to an associated weed in the        alburn L., Chloris polydactyla (L.) Sw., Commekna
field. That weeds closely related to crops are some-         benghalensis L., Commelina communis L., Cyperus spp,,
times naturally resistant to the same herbicides as          Dicl,iptera chinensis (L.) Jussieu, Ipomoea spp., Lotus
the related crop may partially account for this. Nev-        comiculatus L, Richardia brasiliensis (Moq.) Gomez,
ertheless, full introgression of traits from crops to        Sesbania exahata (Raf,) Cory, Spermacoce latifolia
weeds appears to be rare, even with extreme selection        AubL, Syned.rellopsis grisebachii Hekon & Kuntze and
pfessufe,                                                    Tridaa procumbens L,4e-5r Some of these species have
  Canola is the only GR crop commercially grown              become problematic in GR crops. This is not an
in North America that has a weedy relative with              exhaustive list.
which it can readily interbreed.a? Herbicide-resistant
uansgenes have been found in B, rapa x canola                3.5 Evolved glyphosate resistance
hybrids in the field, but complete introgression             In addition to weed species shifts, overreliance on
into B. rapa has not been confirmed. Maize genes             glyphosate in GR crops has led to the evolution of
could theoretically introgress into teosinte (Euchlaena      GR weeds (Fig. 2). Most of the documented cases
mexicana Schrad.), the species from which maize              of evolved GR weeds in the past 6years have been
originated, since the two species can interbreed,a8          in GR crops. The evolution of GR weeds in various
The transfer of transgenes from soybean to weedy             parts of the world has been reviewed recently25'26
relatives is not considered a risk in the '$?estern          and therefore will not be elaborated upon here. It
Hemisphere (which accounts for about 83% of the              is clear that in the USA, Argentina and Brazil (to
total soybean area worldwide), because there are             a lesser but significant extent) the massive levels
no sexually compatible relatives of soybean growing          of adoption of GR crops means an overreliance on
wild in the Americas. There are tetraploid Gossypium         glyphosate for weed control across massive areas with
species in South and Central America that potentially        insufficient diversity. Thus, there is a high selection
could cross with G. hirsutum. $(rhere G. hirsururn L.        pressure for resistance, and, consequently, glyphosate-
and G. barbadense L. overlap in distribution, natural        resistant weeds are evolving in these areas. Given the
hybrids theoretically could occur, although there have       high popularity of GR crops, this process is likely to
been no reports of such hybrids occurring (Meredith          accelerate through the foreseeable future.
\|7, private communication, 2007).
  In spite of the lack of any significant problems
with transgene introgression from a GR crop so               4 SUSTAINING GLYPHOSATE AND THE
far, introgression of transgenes to wild relatives           GLYPHOSATE.RESISTANT CROP WEED
is considered to be the largest potential risk of            MANAGEMENT SYSTEM
any transgenic crop, in that recalling the errant            By any criteria, the technological innovation of GR
genes would be essentially impossible, once fully            crops has been an outstanding success. Soybean,
introgressed. Herbicide resistance transgenes should         maize, canola and cotton producers, particularly
pose no thfeat to natural ecosystems, but, when              in Argentina, Brazil, Canada and the USA, have
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overwhelmingly adopted this technology. As GR crops                 5 Padgette SR, Re DB, Barry GF, Eichholz ED, Delannay X,
become approved by governments in other parts of                         Fuchs RL, elal, New weed control oppotunities: develop-
                                                                         ment of soybeans with a Roundup Ready* gene, in Herbicide-
the world, farmers in those countries are likely rapidly
                                                                         resistant Crops, ed. by Duke SO. CRC Press, Boca Raton, FL,
to adopt them because of the same benefits evident                       pp. 53-84 (1996).
to North and South American producers. Currently,                    6 Duke SO and Cerdeira AL, Potential environmental impacts
glyphosate dominates crop weed control in soybean,                       ofherbicide-resistant crops, in Col,lection of Biosafety Retsiews,
maize, canola and cotton in North and South America.                      VoL 2, lntetnattonal Centre for Genetic Engineering and
                                                                         Biotechnolo gy, Trieste, Italy, pp. 6 6 - | 43 (2005).
Consequently, throughout large areas, glyphosate
                                                                     7 Cerdeda AL and Duke SO, The current status and envitonmen-
reliance without diversity in weed control practices                     tal impacts of glyphosate-resistant crops: a review, J Enutron
is a strong selection pressure favoring the evolution                     Qual 35:l 633 -1658 (2006).
and eventual domination of glyphosate-resistant weed                 8 Steinrucken HC and Amrhein \ The hetbicide glyphosate is a
populations. Given the tangible benefits of GR crops                     potent inhibitor of 5-enolpyruvyl shikimate acid-3-phosphate
                                                                         syntlrase, Biochim Biophys Res Commun 94:L207-1212
and glyphosate, it is unlikely that producers (and                        (1e80).
many that advise them) will readily diversifu away                   9 Siehl DL, Inhibitors of EPSP synrhase, glutamine syntlase
from high reliance on glyphosate. Inevitably, then,                      and histidine synthesis, in Herbicide Actioitg: Toricologt,
glyphosate-resistant weeds will emerge, threatening                      Biochemistry and Molecular Binlogt, ed. by Roe RM, Burton ID
the long-term efficacy of the world's most important                      and Kuhr RJ. IOS Press, Amsterdam, The Netlerlands,
                                                                          pp.37-67 (1997).
herbicide resource. This lamentable scenario can                   10 SewaitesJC, TucciMA and GeigerDR, Glyphosate effects
only be minimized and managed through the                                on carbon assimilation, ribulose bisphosphate carboxylase
reintroduction and maintenance of diversity in weed                       activity, and metabolite levels in sugar beet leaves, Plant
control tools acting to reduce the evolutionary                          Physinl 8 5:37 0 -17 4 (1987 ).
                                                                   I I Kirkwood RC, Hetherington T, Reynolds TL and Marshall G,
selection pressure favoring glyphosate-resistant weeds,
                                                                         Absorption, localisation, translocation and activity of
Put simply, glyphosate can only be sustainable in                         glyphosate in barnyardgrass (Echinochloa crus-ea.ili (L.)
the long term if there is sufficient diversity in weed                    Beauv): influence of herbicide and surfactant concentration.
management practices. The challenge is to develop                         Pest Manag Sci 56t359-367 (2000).
and implement this needed diversity given prevailing               12 CaseleyJC and Coupland D, Environmental and plant factors
                                                                          affecting glyphosate uptake, movement and activity, in ?7le
economic and other constraints, Diversity can be
                                                                          Herbicide Glyphosate, ed. by Grossbard E and Atkinson D.
achieved in many different ways, and to achieve                           Butterworth & Co., I-ondon, UK pp. 92-123 (1985).
this there are essential roles for many sectors of                 13 Geiger DR, Shieh \7-I and Fuchs MA, Causes of self-limited
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